Name &Case   8:19-cr-00061-JVS Document 442 Filed 04/29/21 Page 1 of 1 Page ID #:6455
        Address:
H. Dean Steward SBN 85317
107 Avenida Miramar Suite C
San Clemente, California 92672
(949) 481 4900
Attorney for Defendant Michael John Avenatti


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA                                 CASE NUMBER:

                                                                            SA-CR-19-61-JVS
                                           PLAINTIFF(S)
                  v.
 MICHAEL JOHN AVENATTI                                             NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed          Lodged : (List Documents)
 Declaration of Michael Avenatti with exhibit.




Reason:
✔     Under Seal
✔     In Camera
      Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
✔     Per Court order dated:        August 27, 2020
      Other:




 April 29, 2021                                             H. Dean Steward
Date                                                       Attorney Name
                                                            Michael John Avenatti
                                                           Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
